
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-07-097-CV



ROBERT FREDERICK KORSCH
	
APPELLANT



V.



JOAN MARGARET KORSCH
	APPELLEE

A/K/A JOAN M. GOBIN
 



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FROM THE 16
TH
 DISTRICT COURT OF DENTON COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant’s “Motion To Dismiss Appeal Of Judgment That Is Interlocutory.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by the appellant
, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
43.4.

PER CURIAM



PANEL D: &nbsp;GARDNER, WALKER, and MCCOY, JJ.



DELIVERED: &nbsp;April 19, 2007

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




